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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 ANTHONY WEIMER,                                      CV 21–78–M–DLC

                      Plaintiff,

 vs.                                                        ORDER

 GOOGLE LLC; MICROSOFT
 CORPORATION,

                       Defendants.

       Currently pending before the Court is Plaintiff Anthony Weimer’s

disqualification motion. (Doc. 9.) Following Defendant Google LLC’s

appearance in this matter, the Court ordered it to file a response this motion (Doc.

9) on or before October 19, 2021. (Doc. 13.) The Court will now do the same for

Defendant Microsoft Corporation.

       Accordingly, IT IS ORDERED that Microsoft shall file a response to

Plaintiff’s disqualification motion (Doc. 9) on or before October 19, 2021.

Plaintiff may file an optional reply brief to the response briefs filed by Microsoft

and Google on or before November 2, 2021.

       DATED this 7th day of October, 2021.




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